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 CIVIL ACTION NO. ______________                              FAYETTE CIRCUIT COURT

                                                                   DIVISION ______________

                                                    JUDGE ____________________________

 SHELLIE BRAGDON                                                                  PLAINTIFF
 4340 CLEARWATER WAY
 APT. 1903
 LEXINGTON, KY 40515
                                         COMPLAINT

                                     (Electronically Filed)

 FANEUIL, INC.                                                                  DEFENDANT
 2716 GRASSLAND DRIVE
 LOUISVILLE, KY 40299

 SERVE:                CORPORATION SERVICE COMPANY




                                                                                              Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
                       421 WEST MAIN STREET
                       FRANKFORT, KY 40601
                                I.   INTRODUCTION

        Comes the Plaintiff, SHELLIE BRAGDON (hereinafter “BRAGDON” or “Plaintiff”),

 and for Plaintiff’s Complaint against the Defendant FANEUIL, INC., (hereinafter “FANEUIL,

 INC.,” or “Defendant") (“the Defendant”) and states as follows:

                      II.     PARTIES, JURISDICTION AND VENUE

 1.     BRAGDON is an individual residing in Kentucky.

 2.     Defendant FANEUIL, INC., INC. is a corporation doing business in FAYETTE County,

 Kentucky.

 3.     Venue is proper in FAYETTE County, Kentucky, pursuant to Kentucky Revised Statutes
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 (“KRS”), Chapter 452 because the Defendants maintain regularly transacts business in

 FAYETTE County, Kentucky and the events giving rise to this cause of action arose in

 FAYETTE County, Kentucky.
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 4.      A case and controversy exist between the parties to this action and the amount in

 controversy exceeds the jurisdictional minimum of this Circuit Court, but is less than $75,000

 inclusive of fees, punitive damages and the fair value of any injunctive relief.

                                            III.     FACTS

 5.      BRAGDON is a former employee of Defendant. BRAGDON is 46 years old.

 6.      BRAGDON worked for the Defendant from December 2020 to September 2021.

 Plaintiff earned $12.50 per hour while employed by the Defendant. Plaintiff worked as a

 customer service representative.

 7.      While Plaintiff was employed by the Defendant Plaintiff disclosed that he suffered from:

 diabetes. This condition, combined with the regular accompanying symptoms left Plaintiff

 disabled. Further, Plaintiff’s disabilities left Plaintiff unable to complete major life activities and




                                                                                                           Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
 Plaintiff required regular medical treatment. The Plaintiff sought reasonable accommodations

 from the Defendant which included time off to treat and or visit with his healthcare providers.

 Plaintiff completed all of the necessary paperwork to receive a reasonable accommodation.

 8.      However, following Plaintiff’s disclosure the Defendant discriminated against Plaintiff

 based Plaintiff’s disabilities.

 9.      The Plaintiff complained Defendant’s authorities about what he perceived to be unlawful

 discrimination.

 10.     The Defendant fired the Plaintiff in retaliation for Plaintiff’s complaint and because

 Plaintiff was disabled and sought accommodations.                                                         COM : 000002 of 000004




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                           IV.        CLAIMS AND CAUSES OF ACTION

                                 A.         DISABIITY DISCRIMINATION

 11.     BRAGDON re-alleges all allegations contained in Paragraphs 1 through 10 above as if

 fully set forth herein.

 12.     The Defendant’s actions in discharging BRAGDON constitute Disability discrimination,

 failure to accommodate, and unlawful discharge under the Kentucky Civil Rights Act, Chapter

 344 et. seq. (hereinafter “KRS 344”).

                    B.       RETALIATION/AND UNLAWFUL DISCHARGE

 13.     BRAGDON re-alleges all allegations contained in Paragraphs 1 through 12 above as if

 fully set forth herein.

 14.     Defendant’s actions, as set forth above, constitute retaliation and retaliatory discharge in




                                                                                                        Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
 violation of KRS 344.280 et seq.

                                       V.      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that Plaintiff be awarded the following relief:

         A.      Trial by jury;

         B.      Judgment against the Defendant on all claims asserted herein;

         C.      Compensatory damages including but not limited to past and future lost wages and

 past and future lost benefits;

         D.      Compensatory damages including but not limited to emotional distress, mental

 anguish, humiliation and embarrassment;

         E.      Punitive damages to punish and deter similar future unlawful conduct;
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         F.      An award of statutory attorney fees, costs and expenses; and

         G.      Statutory interest on all damage awards, verdicts or judgments.


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       H.    All other relief to which it may appears Plaintiff is entitled.


                                            Respectfully submitted,

                                            /s/ Kurt A. Scharfenberger
                                            ____________________________________
                                            Kurt A. Scharfenberger
                                            9000 Wessex Place, Suite 204
                                            Louisville, Kentucky 40222
                                            (502) 561-0777
                                            Kurt@scharfenberger-law.com
                                            Attorney for the Plaintiff




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 CIVIL ACTION NO. ______________                               FAYETTE CIRCUIT COURT

                                                                    DIVISION ______________

                                                     JUDGE ____________________________

 SHELLIE BRAGDON                                                                   PLAINTIFF


 v.


 FANEUIL, INC.                                                                    DEFENDANT

                       PLAINTIFF’S FIRST SET OF INTERROGATORIES
                      AND REQUEST FOR PRODUCTION OF DOCUMENTS
                              PROPOUNDED TO DEFENDANT

                                      (Electronically Filed)




                                                                                                      Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
                                  *************************

        Pursuant to Kentucky Rules 33 and 34 of the Kentucky Rules of Civil Procedure, the

 Plaintiff, through counsel, propounds this First Set of Interrogatories and Request for Production

 of Documents to the Defendant. The Interrogatories are to be answered in writing, under oath,

 within forty-five (45) days of the date of service hereof. Defendant is requested to produce for

 inspection and/or copying all documents responsive to the Request for Production to Kurt A.

 Scharfenberger, 9000 Wessex Place, Suite 204, Louisville, Ky 40222, within forty-five (45) days

 of service hereof.

        These Interrogatories and Request for Production of Documents are deemed continuing

 in nature, requiring amended or supplemental answers in conformity with Rule 26.05 of the
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 Kentucky Rules of Civil Procedure. The instructions and definitions to be utilized in complying

 with these Interrogatories and Request are as follows:
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                             DEFINITIONS AND INSTRUCTIONS

        1.      “You” or ““your” shall mean and refer to the Defendant to which these

 Interrogatories and Request are directed, and its attorneys, investigators, agents, consultants,

 experts, representatives or any other person acting on the Defendant’s behalf or at its request.

        2.      If you make an objection to any portion of Plaintiff’s Interrogatories and Request,

 state the specific objection as it relates to each portion of the Interrogatory or Request to which

 you are objecting. For the purpose of avoiding confusion and to identify the specific discovery

 disputes raised by your responses do not “string cite” boilerplate objections. (e.g., oppressive,

 burdensome, or harassing etc.)

        3.       If you object to any time frame for which a specific Interrogatory or Request




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 seeks information, indicate the time frame for you which are providing a response.

        4.      If you make “General Objections” to all of Plaintiff’s First Set of Interrogatories

 and Request for Production of Documents provide your legal basis under the Kentucky Rules of

 Civil Rules of Civil Procedure for such objections.

        5.       If a response to Plaintiff’s Interrogatories or Request has both an objection and a

 sworn answer (e.g., “without waiving said objection…”) please indicate your legal basis under

 the Kentucky Rules of Civil Procedure for this type of “hybrid” objection/response.

        6.      If in any of your responses to Plaintiff’s Interrogatories or Request you intend to

 claim that you are: “unaware” of what a certain term means, and or do not “know” what a

 certain term means, and or claim a term is “unknown” to you; contact counsel for the Plaintiff,
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 by and through your counsel, prior to the date your responses are due and request clarification as

 to the meaning of the term or terms causing your confusion. If you make a timely request, the

 Plaintiff will grant you additional time to respond to the Interrogatories and or Requests which


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 contain the confusing term(s). This instruction is an attempt to resolve potential discovery

 disputes, without Court intervention, as required by the local Civil Rules.

        7.      The term "document" or "documents" shall be used in its broadest sense and shall

 mean: originals, drafts, and all non-identical copies and reproductions of: records; papers;

 correspondence; written communications (including internal and external communications);

 reports, directives; computer print-outs or tapes; summaries, records, notes, or memoranda of

 telephone conversations; summaries, records, notes, motions reports, memoranda or minutes of

 personal conversations, interviews, conferences or meetings; executed agreements and all other

 forms of understanding; memoranda; instructions; projections; tabulations; notes; notebooks;

 diaries; telephone logs; calendars; travel and expense records; worksheets; receipts; vouchers;

 books of account (including ledgers, sub-ledgers, journals, sub-journals, vouchers, receipts,




                                                                                                   Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
 invoices and billings and all other financial records); bank records and statements; canceled

 checks and all vouchers or retained copies, and all debit memos or other written bank

 communication; manuals; books; pamphlets; brochures; circulars; telegrams; cablegrams; tape

 recordings; transcripts; newspaper or magazine clippings; all non-identical drafts of each

 document listed above; and other items on which information has been recorded or stored.

 Different versions of the same document with or without handwritten notation found in the

 original shall be considered different documents.

        8.      The term "communication" as used herein shall mean and include any

 transmission or exchange of information between two or more persons, whether orally or in

 writing, and including without limitation any conversation or discussion by means of letter,
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 telephone, note, E-mail, text message, instant message, web E-mail, voice mail, post it note,




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 memorandum, telegraph, fax, telecopy, cable, pdf attachment, or any other electronic or other

 medium.

           9.    The term "person" as used herein includes individuals, firms, corporations,

 partnerships, joint ventures, associations, governmental entities, other entities, or groups of

 persons, and each division, department, and other unit thereof, unless the context clearly

 indicates reference only to a specific individual.

           10.   The terms "and" and "or" as used herein shall be construed either conjunctively or

 disjunctively as required by the context to bring within the scope of these Interrogatories and

 Request for Production of Documents any information which might be deemed outside their

 scope by any other construction.

           11.   The word "date" as used herein shall mean the exact day, month and year, if




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 ascertainable, or if not ascertainable, the best approximation.

           12.   The terms “referred to,” "relate to" or "relating to" a given subject matter means

 constitutes, contains, embodies, compromises, reflects, identifies, states, deals with, comments

 on, responds to, describes, analyzes, or having as a subject matter, directly or indirectly,

 expressly or impliedly, the subject matter of the specific request.

           13.   Unless otherwise stated, these Interrogatories and Request for Production refer to

 the period from November 2011 to the present.

           14.   The term “Plaintiff” as used herein shall refer to the Plaintiff in this cause of

 action.

           15.   The term “Defendant” as used herein shall refer to the Defendant in this cause of
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 action.




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         16.     As used herein, a request to "identify" a natural person shall be deemed a request

 for that person’s name, current home address and telephone number, and the name, address and

 telephone number of that person’s current employer or business, if known, and whether the

 individual is a present or former employee of the Defendant, his or her precise job or position,

 titles held, the dates of employment, and the reason for termination of employment if the

 individual is a former employee.

         17.     As used herein, a request to "identify" an entity, such as a corporation, partnership

 or association, means to state the name of the entity, its business address, telephone number, and

 name of its chief executive officer and the agent for service of process.

         18.     The term "identify" when used in reference to a document shall mean a statement

 of the date thereof, the author and, if different, the signer or signers, their addresses, its present or




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 last-known location or custodian and all the means of identifying it. If any such document was,

 but is no longer, in your possession or subject to your control, state the present whereabouts of

 the document, if known.

         19.     With respect to each Interrogatory relating to oral communications, it is intended

 and requested that the answer to each such interrogatory set forth whether the oral

 communication was by telephone or face to face, and set forth further the names, addresses,

 telephone numbers, and business positions or occupations of the persons involved in said

 communications; the names, addresses and telephone numbers of any other person present

 during such communications; the date on which such communication took place; and the time

 and place of said communication. For any oral communications withheld from identification as
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 attorney-work product, or the subject of attorney-client privilege, describe such oral




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  communication by date, parties involve and a brief description of the contents of the

  communication.

         20.     In lieu of identifying documents or communications, such documents or

  communications may be organized, clearly labeled, and then attached to the Answer to those

  Interrogatories requesting identification of those documents or communications.

         21.     "Describe in detail" shall mean to give a complete and full description concerning

  the matter about which inquiry is made, including the full name, address and telephone number

  of the persons involved, if appropriate, along with dates, times, places, amounts and other

  particulars which make the response to the Request fair and meaningful.

         22.     Answers to these Interrogatories shall be responsive to the date on which the

  Answers to the Interrogatories are filed or served. These Interrogatories are continuing in nature




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  and the Defendant is required to provide such additional information as the Defendant, its

  attorney(s), or anyone acting on behalf of the Defendant or in concert with the Defendant may

  have or may obtain between the time the answers were served and the time of trial.

         23.     When an Interrogatory requires you to "state the basis of" or "describe in detail"

  the nature of a particular claim, belief, contention, or allegation, state in your answer the identity

  and nature of each and every communication, fact, authority, source, document, or event which

  was the basis, in whole or in part, of, or which you think supports, such claim, belief, contention

  or allegation, and identify each person with knowledge of any communication.

         24.     Wherever appropriate in these Interrogatories and Request, the singular form of a

  word shall be interpreted as plural.
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         25.       "And" as well as "or" shall be construed either disjunctively or conjunctively as

  necessary to bring within the scope of these Interrogatories any information which might

  otherwise be construed to be outside their scope.

         26.       The word "date" as used herein shall mean the exact day, month and year, if

  ascertainable, or if not ascertainable, the best approximation.

         27.       If your response to any Interrogatory or to the Request for Production of

  Documents herein is other than an unqualified response, state for such Interrogatory or Request

  the following:

                   (a)    All facts that the Defendant contends supports in any manner its refusal to
                          respond, or Defendant’s qualified admission.

                   (b)    The identity of all documents that support in any manner Defendant’s
                          refusal to respond, or qualification of Defendant’s response or admission;




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                          and

                   (c)    The name and address of all persons, including consultants, purported to
                          have any knowledge of factual data upon which the Defendant bases its
                          refusal to respond or Defendant’s qualification of response or admission.

         28.       If any document is withheld under a claim of privilege, furnish a detailed

  privilege log which identifies each document for which the privilege is claimed, including the

  following information:

                   (a)    The date of the document.

                   (b)    The sender(s).

                   (c)    The recipient(s).

                   (d)    The persons(s) to whom copies were furnished along with their job title(s)
                          or position(s).
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                   (e)    The subject matter of the document.

                   (f)    The basis on which the privilege is claimed; and

                   (g)    The paragraph of these Interrogatories and Request for Production Of
                          Documents to which said document responds.


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         29.     In the event any document referred to in the Request for Production of Documents

  is not in Defendant's possession, custody or control, specify what disposition was made of it and

  identify the person who has possession, custody or control of the document.

         30.     In the event that any document referred to in the Request for Production of

  Documents has been destroyed, specify the date of such destruction, the manner of such

  destruction, the reason for such destruction, the person authorizing such destruction, and the

  custodian of the document at the time of its destruction.

         31.     When produced, the documents must be organized and labeled in accordance with

  the number of the request to which they are responsive.

                                       INTERROGATORIES

  INTERROGATORY NO. 1:




                                                                                                       Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
         State the complete name, business and residence address and telephone number(s) of the

  person(s) answering these Interrogatories and all persons assisting in the preparation of the

  answers to these Interrogatories. For each person designated, please identify the Interrogatory(s)

  that person answered or aided in answering.

  ANSWER:



  INTERROGATORY NO. 2:

         Identify the date the Defendant hired the Plaintiff.

  ANSWER:                                                                                              IRPD : 000008 of 000015




  INTERROGATORY NO. 3:

         Identify the date the Defendant terminated the Plaintiff.

  ANSWER:


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  INTERROGATORY NO. 4:

           Identify Plaintiff’s compensation on an annualized basis.

  ANSWER:



  INTERROGATORY NO. 5:

           Identify the benefits available to Plaintiff at the time of Plaintiff’s termination.

  ANSWER:



  INTERROGATORY NO. 6:


           Identify the date the Defendant decided to terminate the Plaintiff’s employment.




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  ANSWER:



  INTERROGATORY NO. 7:

           Identify the individual that replaced the Plaintiff at the Defendant’s facility.


  ANSWER:



  INTERROGATORY NO. 8:

           Identify the cost of the benefits the Defendant provided to the Plaintiff on an annualized

  basis.

  ANSWER:
                                                                                                        IRPD : 000009 of 000015




  INTERROGATORY NO. 9:

           Identify the reason(s) Defendant terminated the Plaintiff’s employment.


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  ANSWER:



  INTERROGATORY NO. 10:

        Identify the Plaintiff’s direct supervisor.

  ANSWER:



  INTERROGATORY NO. 11:

        Identify the General Manager for the facility where Plaintiff was employed.


  ANSWER:




                                                                                                  Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
  INTERROGATORY NO. 12:

        Identify any and all positions to which Plaintiff applied for at Defendant’s facililty.


  ANSWER:



  INTERROGATORY NO. 13:

        Identify the number of employees Defendant employs at Defendant’s Kentucky facilities.

  ANSWER:



  INTERROGATORY NO. 14:

        Identify the Defendant’s anti-discrimination and anti-harassment policies.
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  ANSWER:



  INTERROGATORY NO. 15:


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         Provide the factual basis for each affirmative defense asserted or that will be asserted in

  Defendant’s Answer to Plaintiff’s Complaint. If the Defendant is currently unaware of any

  factual basis for any affirmative defense, enumerate the specific affirmative defenses for which

  the Defendant presently has no factual basis to assert.


  ANSWER:



  INTERROGATORY NO. 16:

         Identify the methodology by which the Defendant conducts employee “corrective

  action.” Identify any policies that the Defendant has for conducting a “corrective action” with an

  employee.




                                                                                                         Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
  ANSWER



  INTERROGATORY NO. 17

         Identify the communication company(s) that provides E-mail service for the Defendant in

  MARION County, Kentucky. If the Defendant provides its own E-mail service, state whether or

  not the Defendant deems itself a communications provider as defined by the Federal Stored

  Communication Act, 18 U.S.C. § 2701.



  ANSWER:
                                                                                                         IRPD : 000011 of 000015




  INTERROGATORY NO. 18

         Have any other incidents occurred in the same or similar manner as the incidents which

  are the subject of this litigation? If so, state the names of the persons involved in the incidents,


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  the dates of the incidents, last known address(s) of the individuals, provide their phone numbers

  and indicate whether litigation resulted therefrom, and if so, the name, place and docket number

  of any lawsuit.



  ANSWER:



  INTERROGATORY NO 19.

         Indicate whether or not the Defendant, is the entity which employed the Plaintiff.

  Indicate whether or not the Plaintiff has sued the proper entity; if you contend Plaintiff has not

  sued the proper entity, indicate the identity and title of the organization that should be sued.

  ANSWER:




                                                                                                       Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
                     STATEMENT OF DOCUMENTS TO BE PRODUCED

  REQUEST FOR PRODUCTION NO. 1:

         Provide all documents or writings that are identified, described, relate to and/or were

  referred to by you in preparing your Answers to Plaintiff’s First Set of Interrogatories

  accompanying this Request.

  REQUEST FOR PRODUCTION NO. 2:

         Please produce a copy of every document which supports any defenses asserted or that

  will be asserted in your Answer to Plaintiff’s Complaint. If the Defendant’s list is incomplete,

  provide the documents currently known and supplement your responses later.

  REQUEST FOR PRODUCTION NO. 3:
                                                                                                       IRPD : 000012 of 000015




         Any and all documents relating to claims made by Plaintiff in this action, or which

  otherwise relate to Plaintiff’s employment and termination with the Defendant including, but not




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  limited to, diaries, notes, letters, E-mails, logs, recordings of any kind, photos, computer

  generated information, voice mail and/or all other documents.

  REQUEST FOR PRODUCTION NO. 4:

          Any and all documents including, but not limited to, diaries, notes, letters, logs,

  electronic mail, recordings and any transcripts thereof, photos, computer generated information

  and/or all other documents, relating to or reflecting upon Plaintiff’s communications with any

  managers or employees of the Defendant, or any of its parent, sister, or subsidiary companies,

  regarding any alleged unlawful, including opposition to unlawful conduct, wrongful, or tortious

  conduct, including any underlying events, facts, or circumstances relating to the allegations

  Plaintiff makes in the Complaint.

  REQUEST FOR PRODUCTION NO. 5:




                                                                                                       Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
          All documents which you expect or plan to use in the trial of the above-styled action,

  either as independent evidence, for impeachment purposes, to refresh recollection or otherwise.

  If the Defendant’s list is incomplete, produce the documents currently known and supplement

  your response at a later date.

  REQUEST FOR PRODUCTION NO. 6:

          Any and all letters, statements, notes, recordings, electronic communications, documents,

  or other forms of communication between the Defendant and former employees of the Defendant

  concerning any of the underlying events, facts, or circumstances relating to Plaintiff’s claims in

  this action.

  REQUEST FOR PRODUCTION NO. 7:
                                                                                                       IRPD : 000013 of 000015




          Any and all letters, notes, recordings, electronic communications, or documents

  containing statements or other communications from or with persons with knowledge of the

  allegations, events, and claims relating to the claims or defenses raised in this action.


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  REQUEST FOR PRODUCTION NO. 8:

         Produce the entire employment files of Plaintiff. Make the appropriate redactions to each

  file as required by Federal, State and Local laws.

  REQUEST FOR PRODUCTION NO. 9:

         Produce all documents relating to claims of discrimination and or harassment against the

  Defendant in the last five (5) years which occurred in Kentucky.

  REQUEST FOR PRODUCTION NO. 10:

         Produce for copying and inspection an identical “image” of Plaintiff’s supervisor’s hard

  drive of his or her office computer.



  REQUEST FOR PRODUCTION NO. 11:




                                                                                                        Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
         Produce for copying and inspection any and all of Defendant’s: employment handbooks,

  policy manuals and training manuals relating to its operations in Kentucky.

  REQUEST FOR PRODUCTION NO. 12:

         Produce for copying and inspection any and all of the Defendants: policies governing or

  pertaining to discrimination, harassment or retaliation (of any sort) which are used in its

  operations in Kentucky.

  REQUEST FOR PRODUCTION NO. 13:

         Produce for copying and inspection any insurance policy that does or might provide

  insurance coverage of any kind for any of the claims asserted by the Plaintiff in the Complaint.

  REQUEST FOR PRODUCTION NO. 14:
                                                                                                        IRPD : 000014 of 000015




         Provide all other exhibits, notes, memoranda, letters or other documents you will or may

  use in support of your Defenses in this lawsuit, whether as evidence, base data or to refresh your

  recollections or that of other actual or potential witnesses, which are not described in any of the



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  categories of documents listed above. If your list is incomplete, produce the documents you are

  currently aware of and supplement your response at a later date.



                                            Respectfully submitted,

                                            /s/ Kurt A. Scharfenberger

                                            Kurt A. Scharfenberger, Esq
                                            9000 Wessex Place, Suite 204
                                            Louisville, Kentucky 40222
                                            Kurt@Scharfenberger-law.com
                                            Counsel for the Plaintiff




                                  CERTIFICATE OF SERVICE




                                                                                                    Presiding Judge: HON. ERNESTO M. SCORSONE (622298)
          I hereby certify that a true and correct copy of the foregoing Plaintiff’s First Set of
  Interrogatories and Request for Production of Documents Propounded to Defendant was served
  via regular mail with the complaint upon the Defendant’s agent for service.

                                               /s/ Kurt A. Scharfenberger

                                               COUNSEL FOR PLAINTIFF




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